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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                                 No. 4:20-CV-2078
PRESIDENT, INC., et al.,
                                                    (Judge Brann)
             Plaintiffs,

        v.

KATHY BOOCKVAR, et al.,

             Defendants.

                                     ORDER

        AND NOW, this 16th day of November 2020, IT IS HEREBY ORDERED

that:

        1.   The motion for leave to file an amicus brief by Charles Dent, et al.

             (Doc. 82) is GRANTED.

        2.   The motion for leave to file an amicus brief by Matthew H.

             Haverstick, et al. (Doc. 91) is GRANTED.

        3.   The motion for leave to file an amicus brief by Democrats Abroad

             (Doc. 129) is GRANTED.

                                             BY THE COURT:


                                             s/ Matthew W. Brann
                                             Matthew W. Brann
                                             United States District Judge
